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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


A.S.,



                                         Plaintiff,

         -against- Civil Case No.: l;21"cv-620
                                                                                (BKS/ATB)
CITY SCHOOL DISTRICT OF ALBANY; CITY
SCHOOL DISTRICT OF ALBANY BOARD OF
EDUCATION; LORI MCKENNA, in her Individual
Capacity; DALE GETTO, in her Individual Capacity;
ANNE SAVAGE, m her Individual Capacity;
JEFFREY HONEYWELL, in Ms Individual Capacity,

                                        Defendants,




                   MEMORANDUM OF LAW IN OPPOSITION TO
              PLAINTIFFS' MOTION TO PROCEED UNDER PSEUDONYM




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                                 PRELIMINARY STATEMENT

        Defendants, the Albany City School District (also sued herein as "City School District of

Albany" and "City School District of Albany Board of Education") ("Albany CSD"), Lori

McKemia, Dale Getto, and Amie Savage (hereinafter collectively the "School Defendants"), by

and through their counsel, Johnson & Laws, LLC^ by this Memorandum, hereby oppose Plaintiff's

June 1, 2021 Motion to Proceed Under Pseudonym ("motion") (Dkt. No, 5) seeking to selectively

conceal the identities of Plaintiff and select non-party witnesses. As reflected by this Court's

Docket, Plaintiff commenced this action on May 27, 2021 by filing a ninety-seven (97) page

Complaint that encompasses more than four-hundred and fourteen (414) paragraphs of allegations

against the School Defendants (Dkt, No. 1), Plaintiff, a 2018 graduate of Albany High School

("AHS"), who has been a legal adult for more than three years before this action was commenced,

advances clams that purportedly arose while she was a sixteen and seventeen-year-old high school

student at AHS. All of Plaintiff s allegations origuiate from her eventual receipt of certain digital

messages (that were unknowiugly sent by third parties) on a private smart phone fhat Plaintiff

attributes to a former infant male student (hereinafter "former male student"), which the Complaint

provocatively and disingenuously refers to as the "perpetrator" (see e,g,, Dkt, No, 1 at <fl 2).

       As an initial matter, while Plaintiffs motion narrates a "confidentiality theory" and


puiyorts to seek the extraordinary relief to proceed under a pseudonym, Plaintiff has already
                                                                                               ;



publicly disclosed the initials of both her first and last names (A.S.), rather than file her Complaint

under the typical anonymous legal moniker "Jane Doe" (Dirt, Nos, 1; 5). Even Plaintiffs cited

authority in support of her motion evinces that plaintiffs seeking to proceed under a pseudonym

must not publicly disclose their initials (see e.g,, Dirt, No, 5-1 at 4, 6-13; Jelinek Decl, Exs, "D"

and "E"), Plaintiffs (perplexing) voluntary disclosure of her initials further demonstrates the fatal

deficiencies in her motion and leaves the relief that Plaintiff seeks unclear,


                                                   1
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        In addition to the critical flaws described above. Plaintiffs motion before this Court is not

only disingenuous, but is fundamentally defective as it fails to satisfy every one of the ten

balancing factors established by the Second Circuit, which factors the district courts should

consider in evaluating motions to proceed pseudonymously, Preliminarily, Plaintiffs motion is

procedural ly defective for failing to comply with numerous requu'emeats set forth in this Court's

Local Rules, as well as substantively infirm for failing to include any supporting evidence as to

the factual allegations asserted therein, Thus, Plaintiffs motion should not be considered by this

Court based upon the motion's procedural deficiencies and violations of this Court's Local Rules,

        Furthermore, as indicated above, Plaintiff cannot satisfy a single one of the ten balancing

factors set forth by the Second Circuit, as PIaintifTs motion completely fails to prove that: 1) her

identity and the underlying facts of this case have been kept confidential to date; 2) this matter is

of the "most severe" or "highest sensitivity"; 3) the School Defendants, including the mdividually-

named School Officials, have diminished interests in protecting their personal and professional

reputations; 4) this litigation does not challenge the actions of any private parties; 5) the School

Defendants would not suffer prejudice by a lack of transparency; 6) Plaintiff will suffer retaliatory

physical or mental harm; 7) Plaintiff will suffer "other" severe harms; 8) Plaintiff is "particularly

vulnerable" to the "harms" created by transparency; 9) the public interest is not furthered by

transparency; and 10) a lack of any less drasdc/alternative mechanisms to complete anonymity. In

light of the above, Plaintiff has clearly failed to satisfy the very high burden invoked by the

extraordinaiy relief requested in her instant motion,

                               BRIEF STATEMENT OF FACTS

       As evidenced by Plaintiffs submissions, while Plaintiff attempts to advance the narrative

of desiring to "protect" unnamed individuals in this action, the allegations in Plaintiffs Federal
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Complaint directly undermine this suggested proposition, In fact, rather than safeguard these j

private individuals' identities and their personal and professional reputations, it is axiomatic that

Plaintiffs more than four-hundred and fourteen (414) paragraph Complaint incorporates dozens

of allegations that are entirely immaterial to Plaintiffs causes of action, and are solely asserted to
                                                      )


embarrass, harass, and disparage these private parties, For example, allegations regarding these

private parties' prior occupations, position transfers Job responsibilities, probationary periods, job

performances, salaries, "experiences" in the court system in completely unrelated cases, personal

feelings, personal interactions, and personal relationships, are clearly irrelevant to Plaintiffs

claims and serve no puipose other than to embarrass and ridicule the individuals whom Plaintiff

and her parents have contentious relationships with (e.g,, Dkt. No. 1 at ^ 19-38), The inclusion

of these superfluous allegations—to achieve Plaintiffs and her parents' ancillary objective of

degrading and embarrassing these private parties—should not be entertained by this Court,

       In addition, Plaintiffs professed notion that she has kept the identities of these private

parties—particularly, the former male student and his mother—confidential is both disingenuous

and demonstmbly false. For one, Plaintiff repeatedly and gratuitously refers to the former infant

male student as being a "perpetrator" and the son of the "School Board President, S,A," (id. at ^

60, 98, 107,121,129, 323), Obviously, it is effortless for anyone to ascertain the identity of the

only person who held the School Board President position (even if her initials were not publicly

provided by Plaintiff, which they are) at the time of the alleged events (jd. at ^| 95, 100-102, 107

121,129,135,323), In turn, it is likewise effortless for the public to determine the identity of the

former male infant student, whom Plaintiff has explicitly exposed by gratiutously identifying, infer

alia, Ins mother and his mother's position at the Albany CSD, text messages between him and his

fi'iends, what classes he attended, what eKtracun'icular activities he was engaged in, Ills future
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college plans, where he worked, who his friends were, who he communicated with, and what he

did both inside and outside of school (rd. at ^ 62, 75, 81, 98,257,272,277, 296, 359; Dkt. No.

14 at 1), In fact, Plaintiff admits that identification of School Board President, S.A., "would reveal

the identity of the alleged Perpetrator [i.e,, the former infant nude stvdent]^ which Plaintiffs

Complaint has already done (Diet, No, 1 at 5 n,2). These immaterial allegations above, coupled

with Plaintiffs strategic use ofhyperbolic and provocative language, reveal that the only identities

Plaintiff strives to keep confidential are the selective identities of herself and her parents,

        Further belying Plaintiffs alleged "confidentiality" narrative, it is an undisputed fact that


it was Pldintiff and her parents who voluntarily elected to include the purported actions,

obsei-vations, and experiences of multiple witnesses and minor third-party students in Plaintiffs

Federal Complaint; advancing extensively detailed allegations on behalf of these individuals that

are wholly irrelevant to Plaintiffs causes of action (see e.g,, id. at ^ 76,109,154,159, 182,184,

190-92, 202-04, 231, 237, 288, 292, 297). Plaintiffs gratuitous inclusion of these unnecessaiy

third-parties' alleged observations, feelings, interactions, and communications, further exemplifies

Plaintiffs self-serving objective to conceal only selective identities—i,e,, the identities of Plaintiff

and her parents—while Plaintiff goes to extraordinary lengths to vilify and disparage private

parties and non-parties whose positions do not align with PlaintifPs alleged "stoiy."

       In further contradiction to Plaintiffs "confidentiality" theory, it is evident from Plaintiffs

submissions that Plaintiff has publicly discussed her "story" with multiple classmates, parents,

witnesses, and third parties from the Albany CSD community, as Plaintiff would otherwise not be

aware of the elaborate details that Plaintiff voluntarily alleges, on these patsies' behalf, in

Plaintiffs Complaint (see id). Illustrative of this fact is Plaintiff's and her parents' collaboration

with former Albany CSD Board of Education ("BOB") member, Kemieth Brace, whom Plaintiff
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admits in her Complaint had publicly discussed Plaintiffs "story" during the BOE's public

meeting on November 2, 2017 {id. at ^ 142; Jelinek Decl, at ^ 3; ^ee c/^o Ex, "A" at ^ 124-142),

In light of the above, Plaintiff and her parents' current attempt to hide behind a cloak of anonymity,

while simultaneously having paraded an extremely public campaign against the School Defendants

for more than four years now, must fail as both a matter of fact and law. Accordingly, tins Court

should deny Plaintiffs motion to proceed anonymously in all respects,

                                       LEGAL STANDARD

        The Federal Rules of Civil Procedure ("FRCP") make clear that Plaintiffs present motion


to proceed under pseudonym cannot succeed as a matter of law, FRCP Rule 10(a) provides that

"[t]he title of the complaint must name all the parties," Similarly, FRCP Rule 17(a)(l) mandates

that "[a]n action must be prosecuted in the name of the real party in interest," The Second Circuit

has recognized these Rules as serving "the vital purpose of facilltatmg public scrutiny of judicial

proceedings, and therefore camiot be set aside lightly." Sealed Plaintiff v. Sealed Defendant #-/,

537 F,3d 185, 188-89 (2d Cir. 2008), Further, this Court has recently reiterated the long-standing

principal that the public has a fundamental constitutional right to laxow the identities of parties

involved in judicial proceedings, and "[t]he use of fictitious names or pseudonyms to replace the

true identities of litigants runs afoul of the public's common law right of access , , , a right that is

supported by the First Amendment," Doe v, Syracuse Ui-ih'., 2018 U.S. Dist, LEXIS 154899, *6-

7 (N,D,N,Y, 2018), "[B]asic fairness dictates that plaintiffs who publicly accuse defendants in

civil suits must sue under their real names," Pieire v. County of'Brooms, 2006 U,S, Dist, LEXIS

108918, *4 (N.D.N.Y. 2006) (internal citations omitted). In that regard, it is well-settled that "[a]


party seeking to proceed under pseudonym bears a heavy burden," Doe v, Smith, 2019 U.S. Dist,
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LEXIS 205707, *1 (N,D,N,Y, 2019); see also Doe v, Townes, 2020 U,S, Dist. LEXIS 83550, *1-

2 (S.D.N.Y. 2020) (holding same),

        In 2008, the Second Circuit in Sealed Plamtiff v. Sealed Defendant #] established the

standard governing the use of pseudonyms in civil litigation within this Circuit, See Sealed

Plaintiff, 537 F,3d at 189, In articulating this standard, the Second Circuit concluded that the

balancing test that it established ultimately ascertains whether the plaintiff has such a substantial

and extraordinary privacy right in anonymity that it "outweiglis the customary and

constitzrtionally-embedded presumption of openness m judicial proceedings," Id, (citing Roe v,

Aware Woman Qr. for Choice, 253 F,3d 678, 685 (llth Cir. 2001)),

        In defining the above standard, the Second Circuit set forth ten (10) non-exhaustive factors

that should be analyzed by the district courts when evaluating motions to proceed under

pseudonym, which factors are the following; 1) whether the litigation involves matters that are

highly sensitive and of a personal nature; 2) whether identification poses a risk of retaliatory


physical or mental harm to the party seeking to proceed anonymously or, even more critically, to

Innocent non-pardes; 3) whether identification presents other harms and the likely severity of those

harms; 4) whether the plaintiff is particularly vulnerable to the possible harms of disclosure; 5)

whether the litigation is challengmg the actions of the government or that of private parties; 6)

whether the defendant would be prejudiced by allowing the plamtiff to pursue his claims

anonymously; 7) whether the plaintiffs identity and the underlying facts have thus far been kept

confidential; 8) whether the public's interest in the litigation is furthered by transparency; 9)

whether, because of the purely legal nature of the issues presented, there is an atypical weak public

interest in knowing the litigants' identities; and 10) whether there are any less drastic/altemative

mechanisms for protecting the confidentiality of the plaintiff. Sealed Plaintiff, 537 F.3d at 190.
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        Contrary to Plaintiffs contentions, analysis of the ten aforementioned "Sealed Plaintiff

factors" weighs heavily in favor of transparency and compels the disclosure of Plaintiffs identity


for a multitude of reasons. In fact, as the School Defendants fully explain herein, every one of the

ten factors established by the Second Circuit significantly favor the School Defendants' position.

Accordingly, based upon all of the arguments that the School Defendants underscore herein,

Plaintiffs motion to proceed under a pseudonym must be denied as a matter of law.

                                      LEGAL ARGUMENT

                                             POINT I
           PLAINTIFF'S MOTION VIOLATES MULTIPLE SUBSECTIONS OF
          THIS COURT'S LOCAL RULE 7.1 AND LACKS ANY EVIDENTIARY
         SUPPORT FOR THE FACTUAL CONTENTIONS ALLEGED THEREIN

       Plaintiffs motion must be denied for failing to comply with numerous requirements set

forth in this Court's Local Rules, For one. Local Rule 7.1(a)(2) mandates that, prior to Plaintiff

filing her present non-dispositive motion before the Court, Plaintiff was required to confer with

counsel for all parties to address the issue of Plaintiff proceeding under pseudonym in this case; a

requirement that Plaintiff did not satisiy, Second, Plaintiffs motion further violates Local Rule


7.1's requirement that "[ijf, after confei'fing, the parties are zmable to arrive at a mutually

satisfactory resolution, the party seeking relief must then request a court conference with the

assigned Magistrate Judge. A court conference is a prerequisite to filing a non-flispositive

motion before the assigned Magistrate Judge." L,R, 7,l(a)(2) (emphasis added), As the record

before this Court confirms, not only was the mandatory pre-motion conference never conducted

with respect to the Complaint that Plaintiff filed in this action (Did, No, 1), but PlamUff failed to

even request any such conference before this Court—which request is ^prerequisite for Plaintiff

to obtain permission/advance her non-dispositive motion to proceed under pseudonym, See e.g.,

L.R. 7,l(a)(2); Doe v, Piitnam Cty., 344 F, Supp, 3d 518, 525 n.5 (S.D.N.Y, 2018); Doe v. Hofstra



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Univ., 2018 U.S, Dlst, LEXIS 69853, *3 (E.D.N.Y, 2018), Third, Plaintiff has failed to include

any Notice of Motion in her submissions, in further violation of Local Rule 7,1 )s requirement that

"fljn the Notice of Motion, the moving party is reqwred to set forth the dale that the court

conference w'th the Magistrate Judge was held regarding the issues being presented m the

motion." L,R. 7.1(a)(2) (emphasis added), In accordance with this Court's Local Rule 7.1(a)(3),

"ftjhe Court shall not consider any papers required under this Rule that are not timely filed or

are otherwise not in compliance wth this Rule..," (emphasis added). As such, this Court should

reject the instant motion based upon Plaintiffs undisputed failures to comply with all of the

prerequisites that are clearly set forth in this Court's Local Rules,

        Im addition to the above, Plaintiffs motion violates Local Rule 7,l(b), which explicitly

provides that "all motions and opposition to motions require a memorandum of law, supporting

affidavit when necessary to establish an d provide factual wd procedural background relevant

to the motion, cmd proof of service on all the parties." (emphasis added). As demonstrated by

Plaintiffs submissions to this Court, Plaintiffs motion is completely devoid of any affidavit,

declaration, or evidentiary support (from either Plaintiff, Plaintiffs counsel, or any thii'd-party) for

the factual contentions asserted in Plaintiffs motion (Dkt. No, 5), The complete absence of any

evidence in support of the extraordinary relief that Plaintiff requests is fatal to Plaintiffs motion

before Ms Court, See Rapp v. Fowler, 2021 U.S, Dist. LEXIS 84214, *5 (S,D,N.Y, 2021)

(demonstrating the importance of courts evaluating supporting declarations when considering

motions to proceed under pseudonym); Doe v. Smith, 2001 U,S. Dist, LEXIS 24974, !I12 (E.D.N.Y,

2001) (holding same for a plaintiffs sworn affidavit); Peny v. Goord, 2009 U.S, Dist. LEXIS




* While such would not rectify the fundamental flaws in Plaintiffs motion to proceed under
pseudonym. Plaintiff has not even executed or verified the allegations contained in her Federal
Complaint (Did, No, 1 at 82); the sole document that Plaintiff cites to in her motion.
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53884, **3, 5 (W.D.N.Y, 2009) (emphasizing that "[pjlaintiff himself did not submit a statement

in support of this motion [to proceed under a pseudonym]"); Rosenberg v, City of New York, 2020

U,S. Dist, LEXIS 128709, ^6 (S.D.N.Y. 2020) (holding "unsupported and uncorroborated nalced

assertions" are insufficient in a motion to litigate anonymously). Thus, pursuant to applicable law

and Local Rules, this Couil: should not consider Plaintiffs defective motion. L,R, 7,l(a)(2), (3).

                                             POINT II

         PLAINTIFF'S MOTION IS FUTILE BECAUSE HER IDENTITY AND
        THE IDENTITIES OF OTHER RELEVANT PARTIES HAVE NOT BEEN
                           KEPT CONFIDENTIAL

       Factor seven of the Second Circuit's decision in Sealed Plamtiff (i.e,, whether the

plaintiffs identity has thus far been kept confidential) compels the denial of Plaintiffs motion

before this Court, Contrary to Plaintiffs contentions, there are numerous records (which

extensively discuss and analyze both the events giving rise to the alleged claims, as well as the

nature of the asserted allegations) that are already in the public domain and which identify the fall

names of Plaintiff, Plaintiffs father, and Plaintiffs mother (as well as the former male student and

School Board President, S.A,, who Plaintiff attempts to vilify in her prolix Complaint), Further

fatal to Plaintiffs motion, the majority of these records identifying the full names of these parties

have remarkably been publicly disseminated by Plaintiff, Plaintiff's parents, and Plaintiff's

current litigation counsel (see Jelinek Decl, at ^ 3; Exs, "B" and "F"), Moreover, Plaintiffs

Complaint recounts widespread publications of Plaintiff s grievance regarding the text messages

of the former infant male student at AHS through: 1) a citizen speakmg publicly about Plaintiffs

grievances during a November 2, 2017 BOB meeting, which, publication forms the basis for

Plaintiffs First Amendment claim (Dkt No, 1 ^ 298-312); 2) the public protest at the AHS

graduation which Plaintiff alleges included five-liundred (500) students, who were prompted by
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Plaintiffs grievance, which protest was reported on and published by the news media (Diet, No, 1

^ 355-357); and 3) the New York State Commissioner of Education ("State Commissioner")

Appeal that Plaintiff and her father filed back in early 2018, and subsequently submitted opposition

papers to Albany CSD's request to keep the names of the minor AHS students confidential (Dkt.

No, ^[ 322-26, 332-33, 338-40; Jelinek Decl. at H 3). Undisputed evidence that Plaintiff's stoiy

and identity have not been kept confidential for years now is yet another fundamental defect

warranting the denial of Plaintiff s motion.

       This Court, and other couits within this Circuit, have denied motions to proceed under

pseudonym on grounds of futility where there was a related state court action pending and the

plaintiffs identity and/or the relevant events were not kept confidential in that related state court

proceeding. Doe v, Berg, 2016 U,S, Dist, LEXIS at *7; Pierre, 2006 U.S. Dist, LEXIS 108918 at

*3-5 (holding "an individual cannot expect to have a constititionally protected privacy interest in

matters of public record."), Further, when members of the public and/or news media are aware of

a plaintiffs identity and the germane events alleged (as is the case in tins litigation), a plaintifTs

motion to proceed under pseudonym must be denied, Doe v, TVemstein, 484 F. Supp, 3d 90, 97

(S.D.N.Y, 2020) ("[CJourts have swiftly rejected motions to proceed under a pseudonym where

the plaintiffs identity was already known to the press,"). Publications (albeit conveyed under a

pseudonym) detailing a plaintiffs experiences also significantly militate against a plaintiff's

ability to proceed anonymously in civil court. Andersen v. North Shore Long Island Jewish

Heahhcare System's Zwker HW.side Hosp., 2013 U,S. Dist. LEXIS 28602, *9 (E.D.N.Y. 2013),

       Additionally, courts have made clear that a plaintiff's claims that their identity will invoke

press or media attention leading to humiliation or embarrassment are not sufficient to prevail on a

motion, to proceed under a pseudonym. SeeDoev, Syracuse £/n?'v,,2018U.S,Dist,LEXIS 154899,




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* 16 (N.D.N.Y, 201 8) (holding "(tjhe social stigma, embau'assment, and economic harm that could

result from being identified in a lawsuit are not grounds for permitting a party to proceed

anonymously."); Doe v. Berg, 20] 6 U,S, Dist. LEXIS 198309, *7 (S.D.N.Y. 2016) (holding same);

Doe v. Shakur, 164 F.R.D. 359,362 (S.D.N.Y. 1996) (holding "[s]uch clEiims of public humiliEition

and embarrassment, however, are not sufficient grounds for allowing a plaintiff in a civil suit to

proceed anonymously,"), Therefore, in light of all the facts described herein, Plaintiffs motion to

proceed under a pseudonym must be denied as a matter of law,

       More specifically, the public records bearing the full names of Plaintiff, Plaintil'fs father,

and Plaintiffs mother, as well as the details of the relevant events, include the following: 1)

PlamlUTy father's February 4, 2018 Petition ("Petition"), submitted on Plaintiffs behalf, to the

State Commissioner, concerning the same allegations asserted in the Complaint (Dkt, No, 1); 2) a

State Court Complaint that was publicly filed by Sgj/g^ on June 1, 2021 ("State Court

Complaint"), against Plaintiff and her parents in the New York State Supreme Court, New York

County ("State Supreme Court"), in a related state court proceeding; 3) a Summons and three

separate Affidavits of Service, served upon Plaintiff and her parents in the related State Court

Complaint; and 4) Plaintiffs counsel's various June 11, 2021 and June 16, 2021 filings in support

of an Order to Show Cause ("OTSC") in the related State Court Complaint (Jelinek Decl, at ^j 3;

Exs. "A," "B," and "F"), As further analyzed below, all of the above-refercnced, publicly available

records demonstrate (hat Plaintiffs identity as it relates to her present allegations against the

School Defendants has clearly not been kept confidential, As such. Plaintiff y motion before this

Court is moot and should be denied on grounds of futility,

       First, with respect to Plaintiffs Petition to the State Commissioner, Plaintiffs father (on

Plaintiffs behalf) appealed Albany CSD's January 5, 2018 determination that the former male




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student's alleged conduct did not violate DASA (Jelinek Decl. at ^[ 3), '1'he Petition alleged claims

regarding purported gender-based bullying and harassment against Plaintiff by the former male

student, and Albany CSD's allegedly ijiadcquatc response to same (i,c,, the same claims asserted

in Plaintiffs Complaint) (id.; Did, No. 1). As the record evidence confirms, Plaintiffs Petition

not only identified Plaintiffs and Plaintiffs father's fall names in the caption, but both Plaintiff

and Plaintiff's father elected to sign and notarixe the Petition to the State Commissioner using their


full names (Jelinek Decl. at ^ 3). Remarkably, Plaintiff and her father aclually opposed the Albany

CSD's request to the State Commissioner for a Confidentiality Order on behalf of the minor AHS

students implicated in Plaintiffs Appeal, but now disingenuously attempt to categorize this request

as a "gag order" by the School Defendants in the Complaint (aw Jeliuek Decl, al ^ 3; see also Dkt.

No. at ^| 333). Further contrary to Plaintiffs "confidentiality" narrative, Plaintiff and her father's

Appeal to the State Commissioner, including their opposition to Albany CSD's requested

Confidentiality Order, was reported on and published by the Times Union,2 The hypocrisy of

Plaintiffs motion, alter she and her father opposed the Albany CSD's request that the State


Commissioner keep the identity of minor students private, also serves to highlight the significance

of Plaintiffs failure to submit evidence in support of her motion, while making factual arguments,

       Second, regarding the State Court Complaint referenced above, such State Court Complaint

likewise identifies the fall names of Plaintiff, Plaintiffs father, Plaintiffs mother, the mother of

the former male student, SB ^— Qilaintiffin the State Court Complaint), as well as other non-

party wilnesscs (we gwei'ally Ex. "A"). The Full uames of every party noted above have already

been filed on the State Supreme Court's public docket and are publicly available to any person




   See Rick Karlin, Albany High grads seek federal investigation, TIMES UNION,
hlLoy://vvwvv,tiincsunion.conVne^y/ailicle/Albanv-Hluh-ymds-seeluiiy-federal4ielD-reRaK[inR
i3688522.php (Mar, 14, 2019),


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with access to the internet (see id). Moreover, the State Court Complaint directly involves the

same set of facts and events that are at issue in Plaintiffs Federal Complaint (Dkt, No, 1),

        Third, and perhaps most crucial, are Plaintiffs counsel's June 1 1,2021 and June 16, 2021

OTSC papers that were filed on the public docket in the State Supreme Court (Exs. "B" and "F"),

Remarkably, to date, Plaintiffs submissions to the State Supreme Court include the following

documents tliat each publicly identify Plamiiff's, Plaintiff's fatlier's, and Plaintiff's mother's

full names: 1) PlaintifFs counsel's Request for Judicial Intervention ("RJI"); 2) PlaintifPs

counsel's Proposed OTSC; 3) Plaintiffs counsel's Attorney Affirmation; 4) Plaintiffs counsel's

Notice of Entry of the OTSC; 5) Plaintiff's counsel's attachment to the Notice of Entry; and 6)

Plaintiffs counsel's Affirmation of Service of the Notice of Entry (see Exs, "B" and "P"),

Contrary to Plaintiffs representations to this Court in Plaintiffs June 16, 2021 letter and

"supplement" (Diet, Nos, 14; 14-1), Plamtiffand her parents' full names are currently (ivailable to

the public m all of the aforementioned papers. Plaintiffs and her parents' fall names were also

publicly filed on the Summons and on three separate Affidavits of Service in the State Supreme

Court (Ex. (<F"), Finally, the State Supreme Court issued an OTSC on June 16, 2021, which

likewise currently and publicly bears the fall names of Plaintiff and her parents (Exs, "B" and "F"),

       As previously indicated, Plaintiffs prolix Complaint includes a seemingly endless series

of allegations about students other than Plaintiff who Plaintiff and/or Plaintiffs parents

communicated with about Plaintiffs grievances and to whom Plaintiff chose to republish the text

messages and underlying facts win ch prompted her one and only DASA complaint, See e.g,, Diet.

No, 1 ^ 69-72, 75-81, 85-86, 91-92, 125-134, 140-143, 167-177, 179-181, 202-204, 211-214,

229-230, 254-257. While it is difficult to identify any legitimate purposes for this litany of

collateral allegations, to the extent that they have been included m Plaintiffs Complaint under




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Rule 11 of the FRCP, these allegations nevertheless demonstrate a widespread rumor mill between

Plaintiff and the AHS community, Likewise, Plaintiffs attempt to "take credit" for Kenneth

Bruce's public comments at the November 2017 BOB meeting—upon which Plaintiff bases her

retaliation claim under the First Amendment {see Dkt, No. 1 ^ 298-312)—further acknowledges

the public's awareness of Plaintiff s grievance and the underlying facts at issue,

       Finally, Plaintiffs motion acknowledges that her identity has not been kept confidential


for more than four (4) years now (i.e., since May 2017 when Plaintiff first communicated with

the Albany CSD regarding the former male student's text message) (Dkt, No, 1 ^ 185), To that

end, Plaintiff's motion concedes that Plaintiffs "local community" was already aware of "at least

some of the allegations set forth in the Complaint and some of the identities of the minor students

involved during the course of the events , . ," (Diet, No. 5-1 at 12), Furthermore, the Complaint

advances several factual allegations supporting the fact that Plaintiffs identity (as well as the

identity of Plaintiffs parents and the former infant male student) have long been divulged and

known by the Times Union who, according to Plaintiff, obtained statements and evidence from the

parties (which even included video footage), and reported on and published several news stories

concerning the events alleged in Plaintiffs Complaint (Diet, No, 1 at ^ 4,357, 358, 361,363,381,

397(m); see also Ex, "A" at <j1f 162-166).3 In fact, certain news articles published by the Times

Union, dating bach to 2018, describe Plaintiff and her parents' grievance to AHS in which Plaintiff

and her parents affirmatively allege prompted a public protest by five-hundred (500) students at

the AHS graduation ceremony (see id.). Remarkably, these news stories even quote the actual text

messages that Plaintiff had sent to the former male student conceming the allegations in the




  See Bethany Bump, Student protest disrupts Albcmy High grad ceremony, TIMES UNION,
https;//www,timesunion.conynews/article/Student-pi'otest-disi'upts-Albaiw
13022473,php#taboola-8 (June 24, 2018),


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Complaint (Ex, "A" at ^f 181).4 Of course, Plaintiff has also continued to publicize the details of

these text message exchanges (and more) by annexing them to her Complaint (Diet, No. 1 at Exs,

"A" - "C"), In light of the above, Plaintiffs motion before this Court is moot and must be denied,

                                              POINT III

         PLAINTIFF'S CHARACTERIZATION OF THE "HIGH SENSITIVITY"
                            OF THIS ACTION IS DISINGENUOUS

        While Plaintiffs motion is riddled with purely hyperbolic terms and ph'ases (e,g.,

identifying the former male student as a "perpetrator" and using demonstrably false language such

as "rape narrative" and "violent rape"), the facts in this action fall far short of even remotely


constituting what courts have held are sufficient to warrant a plaintiff to litigate anonymously (Dkt,

No, 5-1 at 3, 6-7). In fact, courts have repeatedly denied plaintiffs' motions to proceed under

pseudonym in cases which involve purported conduct that was significantly more serious than the

private text message that Plaintiff was shown on a smart phone from Plaintiffs female classmate

(not from the former infant male stident) in the instant action. See e.g., Doe v, Del Rio, 241 F.R.D,

154, 159-160 (S.D.N.Y, 2006) ("[AJnonymous pleading has frequently been rejected in cases

alleging sexual assault.") (citing collection cases); Doe v, Skyline Aiitos. Inc., 375 F. Supp, 3d 401,

405 (S.D.N.Y. 2019) ("[Allegations of sexual assault, by themselves, are not sufficient to entitle

a plaintiff to proceed under a pseudonym,") (citing collection cases); Rapp, 2021 U.S. Dist. LEXIS

84214 at [(i 10 ("hnportantly, however, allegations of sexual assault, by themselves, are not

sufficient to entitle a plaintiff to proceed under a pseudonym.").

       Critical to the present action, it is undisputed that Plaintiff was never a victim of rape or

any sexual assault by the former mfant male student. In fact, Plaintiffs four-hundred and fourteen



 See Rick Karlin, Parents protest Albany schools' hcmdlmg ofsexting mcident, TIMES UNION,
httDs;//www.limesunion.com/news/article/Parents-Di'otest-Albany-schools-handlmg-of-
13163804.Dhp (Aug, 18, 2018),


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(414) paragraphs of allegations do not include a single allegation that Plaintiff was ever touched

in a sexual mamier or threatened by the minor student she labels as a "perpetrator" (see gewrally

Dkt, No, 1), Despite Plaintiffs attempted exploitation of manufactured labels and provocative

plu'ases, the alleged "actions" of the former male student merely consisted of the following:

1) "inappropriate" text messages from the former male student, which the former male student

never sent to Plaintiff or any of Plaintiff s friends; 2) the former male student walking near Plaintiff

in the school hallway and entering his own English class early; 3) the former male student

"swearing" at Plaintiff and "taking over the school piano" while both parties were attempting to

practice; 4) the former male student standing behind Plaintiff during the school's choral

performance in which both Plaintiff and the former male student were participating; and 5) the

former male student walking by Plaintiff on the school's football field, where the former male

student worked CDkt. No, 1 at ^ 55-60, 63,144, 209-210,266-267, 280, 318). None of the above

allegations even remotely constitute sexual assault or sexual misconduct (see id.). Further, the

related State Court Complaint con'oborates the inccmtrovertible fact that Plaintiff was never a

"victim" who was sexually assaulted or harassed by the mfant male student who Plaintiff


disiagenuously identifies as the "perpetrator, See Ex, "A" at ^ 95-106 (stating, inter alia, that

Plaintiff and Plaintiffs parents "knew that [Plaintiff] was not a victim of sexual harassment,"),

Simply stated, the factual allegations asserted m Plaintiffs Complaint do not invoke matters of the

"highest sensitivity" that would warrant the extraordinary relief that Plaintiff seeks in her motion,

       The authority that Plaintiff relies upon in support of her motion is likewise misconstrued

and actually supports transparency in this action. For example, Plaintiffs cited case of B.B, v, The

New School, No. 1:17- cv-8347 (S.D.N.Y, 2018) involved a plaintiff who sought to proceed

anonymously after his University (i,e,, The New School) substantiated sexual assault allegations




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against him and suspended him fi'om the University for one year (Jelinek Decl, Ex, "C"), Further,

the court in B, B, v. The New School never issued any decision articulating the grounds by which

the plaintiff was permitted to proceed anonymously, In John Doe v, Columbia Umv,, No, 1:14-

cv-3573 (S.D.N.Y. 2014), while the court issued a temporary grant for the plaintiff to proceed

pseudonymonsly, the defendants filed a subsequent letter stating that the defendants did not

oppose plaintiff's requested relief} thus, there was no reason for the court to issue a decision on

such motion (Jelinek Decl, Ex, "D"), Lastly, while Plaintiff cites to Doe v. Weill Cornell Med.

Coll. OfCormll Univ., No. l:16-cv-3531 (S.D.N.Y, 2016) m support of her case, the court's

decision by which it temporarily granted the pro se plaintiffs motion to proceed anonymously,

inter alia, was sealed by the court (Jelinek Decl. Ex. "E"). Plaintiff is therefore disingenuously

relying upon legal authority for "support" that is not actually contained in the record,

        Finally, Plaintiffs reliance on Rcipp v, Fowler is likewise disingenuous, Contrary to

Plaintiffs contentions, Rapp v. Fowler., decided just last month, provides unequivocal support for

transparency in this case, In Rapp v. Fowler, the plaintiffs' motions to proceed under pseudonym

were "denied in all respects" despite the serious allegations involving sexual abuse and assault of

minors, Rcipp, 2021 U.S, Dist. LEXIS 84214, *21, The court ill Rcipp v. Fowler underscored the

"important" fact that "allegations of sexual assault, by themselves, are not sufficient to entitle a.

plaintiff to proceed under a pseudonym." Id, at * 10. As such, Plaintiffs explicit representations


that the recent decision in Rapp v. Fowler supports her position borders on absurd, Accordingly,

the first factor in Sealed Plaintiff'similavly weighs in favor of the School Defendants,




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                                             POINT IV
        PLAINTIFF'S THEORY THAT THE INMVIDUALLY-NAMED SCHOOL
            DISTRICT OFFICIALS HAVE DIMINISHED INTERESTS IN
        PROTECTING THEIR REPUTATIONS BELIES WELL-SETTLED LAW

        Factor five in Sealed Plamtiff (i,e,, whether the suit challenges the actions of the

govermnent or that of individual parties) heavily supports transparency in this action, Contrary to

Plaintiffs suggestions, this Court has made clear that "it would go against 'basic fairness' to allow

a [pjlamtiff to hide behind her anonymity and requu'e [d]efendants to defend themselves against

the allegations publicly, when their personal and professional reputations are at stake." Pierre^

2006 U,S. Dist, LEXIS 108918 at *5, As Plaintiff acknowledges, Plaintiff has elected to sue


multiple individually-named School Defendants (i,e,, Lori McKemia, Dale Getto, Am.e Savage,

and Jeffrey Honey well) all in their individual capacities (Dkt Nos, 1 and 5-1 at 11). To that end,

notwithstanding Plaintiffs strategic allegations about which Defendants Plaintiff now

characterizes as the "main Defendants" in this action, Plaintiff and her counsel have, in fact, sued

two private parties (i.e,, Attorney Jeffrey Honeywell and retired AHS admiaistrator Dale Getto)

and have also chosen to sue two school officials (i.e,, Anne Savage and Lori McICemia), seeking

punitive damages from all these parties (Dkt. No, 1 at ^ 10-13; p. 79(b); Dkt. No, 5-1 at 11),

         Akin to this Court's holding in Pierre, Plaintiff "has made allegations against private

individuals in a public record, which could potentially harm their personal and professional

reputations." Pierre, 2006 U.S, Dist, LEXIS 108918 at *5. As such, Plaintiff cannot be permitted

to conceal her identity while simultaneously advancing serious claims against the individuaUy-

named School Defendants—claims that hold the potential to damage these individual parties'

personal and professional reputations, as well as their livelihoods and careers (Diet, No, 5-1 at 11);

Doe v, Shakur, 164 P,R,D, at 361 (denying plaintiff's motion to proceed anonymously and holdmg




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that the mdividually-named defendant "would be placed at a serious disadvantage, for he would

be required to defend himself publicly while plaintiff could make her accusations fi-om behind a


cloak, of anonymity,"). Importantly, Plaintiff and her counsel include numerous collateral and

immaterial allegations in the Complaint about these individually-named private parties for the

apparent sole purpose of embarrassing or disparaging them, smce none of these collateral

allegations support the claims asserted m the Complaint (Dkt, No. 1 ^ 24-28, 31, 178). Thus,

factor five in Sealed Plaintiff supports transparency and compels the denial of Plaintiff s motion.

                                             POINT V

         ALBANY CITY SCHOOL DISTMCT WOULD SUFFER SIGNIFICANT
           PREJUDICE IF PLAINTIFF'S MOTION TO PROCEED UNDER
                        PSEUDONYM WAS GRANTED

        Plaintiff's conclusory argument that the School Defendants will not suffer any prejudice

from Plaintiffs anonymity is demonstrably false. In considering the sixth factor in Seeded

Plamtiff, courts have examined, inter alia., the reputational damage to the defendants, the

fundamental fairness of the judicial proceeding, and the difficulties in conducting discovery, See

e.g., Rapp, 2021 U.S, Dist. LEXIS 84214 at * 16. Here, the reputational damage that the School

Defendants and the individually-named school officials would suffer is axiomatic (see supra

POINT IV). With respect to the fairness of the proceeding, it is well-settled that (<[t]here is

prejudice agamst a defendant when a defendant is 'required to defend itself publicly before a jury

while plaintiff could make her accusations from behind a cloak of anonymity."' Doe v. Towies,

2020 U.S. Dist. LEXIS 83550, at :i{15 (quoting Doe v. Delta Airlines, Inc., 310 F,R,D, 222, 225

(S.D.N.Y, 2015)). Courts have recognized that reputational damage and prejudice to defendants

are extremely high in cases where allegations of sexual harassment are alleged, Doe v. Towies.,

2020 U.S, Dist. LEXIS 83550, at!i! 16 ("Fairness requires that plaintiff be prepared to stand behind




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her charges publicly because plaintiff has made serious charges,"), As such, factor nine in the

balancing test also weighs in favor of transparency, as this case is clearly not a matter of "the

purely legal nature of the issues," but an action that describes many separate and distinct events

that could severely impact these individually-named parties' lives, as well as their personal and

professional reputations and the reputations of their families. Sealed Plaintiff,, 537 F,3d at 190,

        In the present case, it is indisputable that Albany CSD and the individually-named School

Defendants will suffer prejudice if they remain named-defendants In this action while Plaintiff

anonymously advances serious claims against them involving sexual harassment, sexual

misconduct, and the individually-named Albany CSD officials' purported failure to investigate

and/or rectify same, Moreover, the School Defendants will further be prejudiced if Plaintiffs

motion were granted since, contrary to Plaintiffs contentions, the School Defendants and their

counsel do not know who each of the parties are who are only identified in Plaintiffs Complaint

as "Witnesses" 1, 2, 3, 4, and 5, as well as "Student Victims" 2, 3, and 4 (Diet. No. 1 at ^ 109,

154,159,182,184,190-92, 202-04,231,237, 288, 292, 297), The School Defendants' rights to

be put on notice of what they are accused of doing is not only embodied in Rule 10(a) of the FRCP,

but is a matter of basic due process, Plaintiffs attempt to preclude the School Defendants from

knowing the full nature of the public allegations that Plaintiff has advanced against them most

certainly prejudices the School Defendants' ability to investigate the facts and allegations, evaluate

Plaintiffs claims, and defend their reputations in the wake of this four-hundred and fourteen

paragraph Complaint of allegations that Plaintiff and her counsel have made public. Because of

Plaintiffs failure to identify these alleged parties, it could take many months (or longer) for the

School Defendants to communicate with any of these unidentified individuals and, even after

discovery commences (firesuming the School Defendants are even provided with the relevant




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information during such time), the School Defendants will have inevitably lost vital opportunities

to conduct prompt investigations, ascertain and preserve germane documents, and communicate

with witnesses while the witnesses are readily able to recall the pertinent facts in this case, Even

prior to discovery, the School Defendants' ability to respond to the Complaint—which leaves them

guessing about what events Plaintiff is alleging—prevents the School Defendants from fally

comprehending Plaintiffs claims, and thus responding to the Complaint, It is thus unquestionable

that the School Defendants will be significantly prejudiced by a lack of transparency,

        Ill fact, Plaintiffs motion papers demonstrate that the School Defendants would be

prejudiced by Plaintiff pursuing her claims pseudonymously, as Plaintiff even aclcnowledges in

her motion papers that the School Defendants would be left to guess "wlio could have been present

for which events described m the Complaint" (Diet. No, 5-1 at 10). Moreover, while Plaintiff's

motion focuses primarily on the School Defendants knowing Plaintiffs identity, Plaintiff ignores

the fact that the School Defendants are not aware of the identity of all of the multiple anonymous

"Witnesses" and "Student Victims" mentioned throughout Plaintiffs Complaint (see id. at 10-11),


As such, it is clear that the sixth Sealed Plaintiff factor weighs significantly in favor of transparency

and further compels the denial of Plaintiffs motion, See e.g,, Doe v, SJylme Autos, Inc., 375 F.

Supp, 3d at 407 (holding that in a case alleging sexual harassment, "fajllomng Plaintiff 'to proceed

anonymously would disadvantage Defendants at all stages of litigation"} (emphasis added).

                                              POINT VI

            PLAINTIFF HAS FAILED TO PROVE THAT SHE WILL SUFFER
             RETALIATORY HARM BY DISCLOSURE OF HER IDENTITY

       Factors two, three, and four in Sealed Plaintiff further confirm that Plaintiffs motion before

this Court must be denied, To that end, Plaintiff merely argues in conclusory fashion that her

identity "would potentially subject her to humiliation, the risk of public disapproval, and further



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emotional distress." (Dkt, No, 5-1 at 7-8). These purely speculative and unsubstautiated claims

clearly camiot stave off dismissal of Plaintiff s legally infirm motion. See e.g., Rosenberg, 2020

U.S, Dist, LEXIS 128709, *6; Doe v. Shakw, 164 F.R.D, at 362 (holding "claims of public

humiliation and embarrassment, however, are not sufficient grounds for allowing a plaintiff in a

civil suit to proceed anonymously.") (citing Doe v, Universify of Rhode Island, 1993 U.S. Dist.

LEXIS 19257, **3,1 (D, RI, 1993) [holding that student who was sexually assaulted allegedly as

a result of the university's negligence was not permitted to proceed under pseudonym, despite

claims of danger of personal embarrassment and ridicule]). However, these unsubstantiated

conclusory arguments once again highlight the significance of Plaintiffs failure to submit any

evidence to support her motion, Plaintiff has also failed to address how the hypothetical risk of

public ridicule Plaintiff fears is any different from the concerted strategy to advance dozens and

dozens of allegations that serve no purpose other than attempting to embarrass, ridicule, and

demean the School Defendants, Attorney Jeffrey HoneyweU, and multiple non-parties. Further,

Plaintiffs purported "fear" that "certain persons who are aware of her identity have issued []

threats" is demonstrably false and illogical (Dkt, No, 5-1 at 8), For one, Plaintiff has not (and


cannot) alleged that any School Defendants ever threatened Plaintiff (or Plaintiffs parents) in any

way {id.; Dkt, No, 1 at <j 4), Plaintiffs allegations of alleged "harm" are therefore frivolous,




5 The sole contention that the AHS Vice Principal—who is not even a named-defendant in this
case—purportedly told Plaintiff, w June 2017 \ to "watch out" for a third-party is plainly not a
threat, nor could such alleged statement ever constitute sufficient grounds for granting Plaintiffs
motion to proceed under a pseudonym in this civil litigation, See id.; Rosenberg, 2020 U.S. Dist.
LEXIS 128709, *6-7 (holding that "[p]laintiff has not demonstrated any real, rather than
speculative, harm if his name remains in the judicial record, The Court therefore denies Plaintiffs
motion to proceed by pseudonym,"); Doe v, Weinstem, 484 F, Supp, 3d at 96-97 ("The Court
cannot accept [p]laintiffs 'mere speculation' that [defendant's] defense would not be prejudiced
by the condition that he not disclose her name to the public,"),


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        Plaintiffs failure to offer a shred of evidence is particularly fatal to her alleged fear of

"potential" retaliation, For example, Plaintiff fails to inform the Court where she resides, goes to

school, goes to work, the loca1:ion(s) of any of the allegedly "threatening" individuals, or how any

of these ostensibly th'eatening individuals would actually retaliate against Plaintiff (Dkt, No. 5-1

at 7-10). These facts alone are fatal to Plaintiff's argument. See e.g,, Uiiited States v, Pilchef, 950

F,3d 39, 43 (2d Cir. 2020) (affirming the district court's denial of plaintiff s motion to proceed

anonymously on the basis that plaintiffs retaliation/harm allegations were mere "unsubstantiated

speculation."). Moreover, Plaintiff fails to explain how her alleged subjective "fears" of

"potential" retaliation can be reconciled with; 1) her widespread publications of the subject text

messages; 2) her role in the AHS public graduation protest; 3) her father's Petition to the State

Commissioner and subsequent opposition to the Albany CSD's request seeking confidentiality of

the minor students; 4) her and her parents' communications and alignment with Kenneth Bruce

before his November 2, 2017 public comments during the public BOB meeting; 5) her role in


multiple news media stories regarding her grievances and text messages; 6) her community already

knowing her identity and the underlying facts/claims advanced in her Complaint; and 7) her

obvious widespread discussions with members of the AHS community about her grievance, as the

Complaint is saturated wrth collateral allegations describing other students'/witnesses' purported

observations, experiences, and actions (Did, No, 1 at ^ 109, 154, 159,182,184,190-92, 202-04,

231,237,288,292,297; Jelinek Decl, at ^ 3),

       Lastly, Plaintiffs argument regarding "potential" harm and/or retaliation is nonsensical as

the argument relies solely on alleged past events by individuals who, as Plaintiff admits, already

know her name and the underlying events (Diet, No, 5-1 at 8), Plaintiff does not explain (nor could

she justiiy) that she will allegedly suffer harm or retaliation from mdividuals who are already




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aware of her identity and the underlying facts of her claims (see id.). Thus, factors two, three, and

four of the Sealed Plaintiff balancing test strongly weigh in favor of transparency, as Plaintiffs

arguments in her motion are purely speculative, illogical, and completely unsubstantiated,6

                                             POINT VII
         THE PUBLIC'S INTEREST IN THIS LITIGATION IS SIGNIFICANTLY
                       FURTHERED BY TRANSPARENCY

        Plaintiffs argument regarding the eighth Sealed Plaintiff 'factor (i,e,, the public's interest


in the litigation) is meritless (Diet. No, 5-1 at 12). As analyzed above (see supra POINT III), even

assuming Plaintiffs allegations to be true, Plaintiff was never a victim of sexual assault {see Diet,

No, 1 at ^55-60, 63, 144,209-210,266-267,280, 318; Ex. "A" at ^95-106), Plaintiff s attempt

to suggest otherwise is offensive to actual victims of sexual assault. Moreover, contrary to

Plaintiffs contentions, courts in this Circuit have consistently found that, in cases asserting claims


of sexual misconduct or harassment, "[t]here is great public, interest in not only the allegations

against [the defendant], but also in the identities of his accusers [i,e,, the plaintiff]." Doe v.


Wemstem, 484 F. Supp, 3d at 97 (emphasis added); Doe v, SJyline Antes. Inc., 375 F, Supp,3d at

408 ("[T]he public interest in sexual assault and discrimination is very high") (emphasis added).

       Wlien civil litigation encompasses "particular actions and incidents" allegedly committed

by the defendants—:which is obviously applicable to Plaintiffs Complaint where she alleges

numerous, specific instances of alleged harassment by the former male student—the public has an

exceedingly strong interest in knowing the identity of the parties to the judicial proceeding. See

e.g., Doe v. SJylme Amos. Inc., 375 F, Supp, 3d at 408 (holding that °<[h]ere, there are no abstract

questions of law at issue, Rather, [p]laintiff alleges that she was sexually assaulted, sexually




6 Plaintiffs reliance on Local Rule 5.2(a)(2) is misplaced, as Plaintiff is now a twenty-one (21)
year-old legal adult who is no longer a minor,


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harassed, and subject to sexual and racial discrimination. These issues are of the type fhatfwtlier

the public's interest in enforcing legal and social norms") (emphasis added); Rapp, 2021 U.S,

Dist, LEXIS 84214 at * 19-20 (holding that, in cases involving claims of alleged sexual

harassment/misconduct, "the public has a legitimate interest in knowing the underlying facts of a

litigation, including the identities of the litigants,"), In fact. Plaintiffs litaay of allegations about

Albany CSD's policies and regulations and the broad spectmm ofinjunctive relief that Plaintiff

seeks in her Complaint (e.g,, Diet, No, 1 at ^ 80-81) acknowledge the public's interest in this

action, Thus, the public's interest in the litigation weighs heavily in favor of transparency.

                                             POINT VIII
 THERE ARE LESS DRASTIC ALTERNATIVES THAT SUPPORT TRANSPARENCY

       The tenth and final factor in the Sealed Plaintiff balancing test likewise weighs in favor of

transparency. Notably, Plaintiff failed to even address tills factor in her motion (see generally Dkt

No. 5-1). Nevertheless, as courts have made clear, there are less drastic remedies to litigating

under complete anonymity, such as redacting sensitive information or procuring a protective order,

See e.g.. Doe v. United States, 2017 U.S, Dist LEXIS 83745, >!!4 (S.D.N.Y, 2017); Rapp v. Fowler,

2021 U.S, Dist, LEXIS 84214 at >i!21 (citing collection cases); Doe v, Sfylme Aiitos. Inc., 375 F,


Supp, 3d at 408; Doe v. Weinstein, 484 P. Supp, 3d at 98 (holding that "[pjlamtiffcan seek less

drastic remedies than blanket anonymity, such as redactions to protect particularly sensitive

information."), As the foregoing arguments make clear, all ten balancing factors set forth by the

Second Circuit significantly weigh in the School Defendants' favor, Accordmgly, Plaintiffs

motion must be denied,




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                                         CONCLUSION

       WHEREFORE, the School Defendants respectfully request that: 1) Plaintiffs June 1,2021

motion to proceed under pseudonym be denied in its entirety; and 2) for such other and further

relief in the School Defendants' favor as this Court deems just and appropriate,

Dated; June 21,2021

                                                            Respectfully submitted,

                                                            JOHNSON & LAWS, LLC



                                                            Loraine C(. Jeli/ek (700354)




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